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                                                                                Q EILdsplsalcrccul
     4                                                                            DISTRICTQFNRD A            '

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     6                             UN ITED STA TES DISTRICT C O U RT

     7                                     D ISTRIC T O F N EV A DA

     8 UNITED STATESOFAM ERICA,                          )
                                                         )
     9                        Plaintiff,                 )
                                                         )
    10          v.                                       )          2:10-CR-365-JCM (Pz&L)
                                                         )
    11 BRAD FussEnL,                                     )                                                       I
                                                         )                                                       !
    12                        Defendant.                 )                                                       !
    13                               FIN A L O RD ER O F FO R FEITU R E
    14          On October24,2011,theUnited StatesDistrictCourtfortheDistrictofNevadaentered a

    15 PreliminaryOrderofForfeiturepursuantto Fed.R.Crim,P.32.2(b)(1)and (2);Title21,United
    16 StatesCode,Section853(a)(1)and853(a)(2);Title21,UnitedStatbsCode,Section881(a)(11)and
    17 Title28,UnitedStatesCode,Section2461(c);andTitle18,UnitedStatesCode,Section924(d)(1),
    18 (2)(C),and(3)(B)andTitle28,UnitedSotesCode,Section2461(c),baseduponthejtlryverdict
    19 t'indingdefendantBRAD FUSSELL gtziltyofacriminaloffense,forfeitingspecificpropertyalleged
    20 in the Crim inalIndictm entand show n by the United Statesto have a requisite nexusto the offense
    21 to which defendantBRAD FU SSELL wasfotm d guiltz. D ocket#16,#131,#139,//141,

    22          This Courtt'indsthe U nited States ofAmerica published the notice ofthe forfeiture in
    23 accordance with the 1aw via the officialgovernm entinternetforfeiture site,www.forfeiture.gov,
    24 consecutively from Ootober28,201l.,throughN ovem ber26,2011,notifying al1thirdpartiesoftheir
    25 rightto petition the Court.# 146.                                                                     '

    26 ...
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        l          ThisCourtlindsnopetition wasfiledherein byoron behalfofanyperson orentityand the

        2 timeforfiling such petitionsand claimshasexpired.

        3          '
                   rhisCourtfindsnopetitionsarependingwithregardtotheassetsnamed hereinandthetime

        4 forpresenting suchpetitionshasexpired.
        5          TH EREFORE,IT IS HEREBY O RDERED ,AD JUD G ED ,AN D DECREED thata1lright,

        6 title,and interestin theproperty hereinaRerdescribed isoondemnedyforfeited,and vested in the           i
                                                                                                                 1
        7 United StatesofAmericapursuantto Fed.R.Crim.P.32.2(b)(4)(A)and(B);Fed.R.Crim,P.                        ,
        8 32.2(c)(2);Title21,UnitedStatesCode,Section853(a)(l)and853(a)(2)'
                                                                          ,Title21,UnitedStates              :
        9 Code,Section88i(a)(l1)andTitle28,UnitedStatesCode,Section2461(c);Title18,UnitedStates
    '
        10 Code,Section924(d)(1),(2)(C),and(3)1 )andTitle28,UnitedSte
                                                                    ztesCodesSection2461(c);and
        11 Title21,United StatesCode,Section853(n)(7)and shallbedisposedofaccordingtolaw:
        12          a)     $17l,600inUnited SGtesCurrency;
        13          b)     a 2008 Black Chevy Suburban bearing Nevada license plate,YODADY,Vm :
        14                 1GN FC 16008R 143l72;

        15          c)     a Glock M odel23,.40 calibersemi-automatic handgun bearing serialnumber
        16                 K FF109;

        17          d)     aSigSauerM odelP229,.40calibersemi-automatichandgtm bearingselialnumber
        18                 A 023046'
                                   ,and

        19          e)     anyanda11ammunition(çtpropertf).
        20          IT IS FURTHER ORDERED,ADJUDGED,AND DECREED thatany and allforfeited
        2 1 funds,including butnotlim ited to,ourrency,currency equivalents,certifioates ofdeposit,asw ell
        22 asany income derived asaresultoftheUnited StatesofAm erica'smanagem entofany property
        23 forfeited herein,and the proceeds from the sale of any forfeited property shallbe disposed of
        24 according to law .                    '

        25   ...

        26   ...

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h

    1         The Clerk ishereby directed to send copiesofthisOrderto a11counselofrecord andthree

    2 certified copiestotheUnited tatesAttorney'sOffice.

    3         DATEDthis 1( dayofx.                          ,2012.
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